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IN THE CIRCUIT COURT OF THE
EIGHTEENTH JUDICIAL CIRCUIT, IN
AND FOR BREVARD COUNTY,
FLORIDA.

CASE NO.: 05-2011-CA-47219-XXXX-XX

MICHAEL RALPH and PAULA RALPH,
Individually and as husband and wife, and
BRANDON RALPH,

Plaintiffs,
vs,
WALGREEN, CO., a foreign corporation,
MICHELLE LEWIS, pharmacy technician,
RIGOBERTO A. QUIZON, pharmacist,
CAPE CANAVERAL HOSPITAL, INC.;
RALPH P. PAGE, M.D. and RALPH P.
PAGE, M.D., P.A.,

Defendants.
/

- AMENDED COMPLAINT

COME NOW, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH, and sue the Defendants,
WALGREEN CO., (hereinafter referred to as “WALGREENS"), a foreign corporation;
MICHELLE LEWIS pharmacy technician, (hereinafter referred to as “LEWIS’);
RIGOBERTO QUIZON, pharmacist, (hereinafter referred to as “QUIZON"), CAPE
CANAVERAL HOSPITAL, INC. (hereinafter referred to as “CAPE CANAVERAL’),
RALPH P. PAGE, M.D (hereinafter referred to as “PAGE"), and RALPH P. PAGE, M.D.,

P.A. (hereinafter referred to as “PAGE, M.D., P.A.”) and allege:

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GENERAL ALLEGATIONS

1. This is an action for personal injuries arising from WALGREENS and its
employees, agents, and apparent agents, including but not limited to Defendants,
MICHELLE LEWIS and RIGOBERTO QUIZON’s failure to properly fill and verify a
doctor's prescription resulting in damages exceeding the jurisdictional limits of this .
Court.

2. This is also an arising from medical negligence which is being brought
pursuant to Chapters §766 and §768, Florida Statutes, and Florida Rule of Civil
Procedure 1.650, for damages exceeding Fifteen Thousand ($15,000.00) Dollars,
exclusive of interest and costs.

3. Plaintiffs, MICHAEL RALPH and PAULA RALPH, are residents of Merritt
stand, Brevard County, Florida. .

4. Plaintiff, BRANDON’ RALPH, is a resident of Merritt Island, Brevard
County, Florida, and a dependent child of the Plaintiffs, MICHAEL RALPH and PAULA
RALPH.

5. Defendant, WALGREENS, is a foreign corporation who has stores and
does business in Brevard County, Florida.

6. At all times material hereto, Defendant, WALGREENS, employed
Defendants, MICHELLE LEWIS and RIGOBERTO QUIZON, and are vicariously
responsible for the negligence of them as well as the negligence of all other employees,

agents, and apparent agents.

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7. Defendant, MICHELLE LEWIS is a resident of Raeford, North Carolina.

8. Defendant, RIGOBERTO QUIZON is a resident of Hope Mills, North
Carolina.

9. At all times material hereto, Defendants, MICHELLE LEWIS and
RIGOBERTO QUIZON, were working within the course and scope of their employment
and/or agency with the Defendant, WALGREEN CO.

10.  Atall times material hereto, Defendant, CAPE CANAVERAL HOSPITAL,
INC. was and is a Florida non profit Corporation authorized to do business in the State
of Florida, and in Brevard County, Florida.

11. At all times material hereto, Defendant, CAPE CANAVERAL HOSPITAL,
INC. was a Florida Corporation duly licensed, organized and existing under the laws of
the State of Florida, and operated a medical facility providing medical and health care
services in Brevard County, Florida.

12.  Atall times material hereto, Defendant, CAPE CANAVERAL HOSPITAL,
INC. acted individually and by and through its agents, apparent agents, servants, and/or
employees, including but not limited to the Defendant, RALPH P. PAGE, M.D., who was
acting within the course and scope of his agency, apparent agency and/or employment
in furtherance of Defendant, CAPE CANAVERAL HOSPITAL, INC.

13. At all times material hereto, Defendant, RALPH P. PAGE, M.D., was a
duly licensed internal medicine physician engaged in the practice of medicine in Brevard

County, Florida.

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14. At all times material hereto, Defendant, RALPH P. PAGE, M.D. held
himself out to the public as being well-quatified in the field of internal medicine, and
further held himself out to the public and possessing the same level of skill and
expertise in the field of internal medicine as any other well-qualified physician practicing
in Brevard County, Florida, or any other similar medical ‘community.

15. - Atall times material hereto, Defendant, RALPH P. PAGE, M.D., P.A. was
and is a Florida Professional Association authorized to do business in the State of
Florida, and in Brevard County, Florida.

46.  Atall times material hereto, Defendant, RALPH P. PAGE, M.D., P.A. was
a Florida professional association duly licensed, organized and existing under the laws
of the State of Florida, and operated a medical practice providing medical and heaiih
care services in Brevard County, Florida.

47. At all times material hereto, Defendant, RALPH P. PAGE, M.D., P.A.,
acted individually and by and through its agents, apparent agents, servants, and/or
employees, including the Defendant, RALPH P. PAGE, M.D., who was acting within the
course and scope of his agency, apparent agency and/or employment in furtherance of
Defendant, RALPH P. PAGE, M.D., P.A.’s business pursuits.

48. Dr. Jos Santz wrote a prescription for 0.6 mg of Coumadin, take as
directed. The prescription was delivered to the WALGREENS store located at 1600
Skibo Road, Fayetteville, North Carolina and misfilled on or about February 5, 2010.
WALGREENS gave Plaintiff, MICHAEL RALPH, 5 mg tablets of Coumadin and

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instructed him to take as directed. In essence, this resulted in Plaintiff, MICHAEL
RALPH, taking a severe overdose of Coumadin. This is not what Dr. Santz intended for
Plaintiff, MICHAEL RALPH.

19. The Defendant, WALGREENS, negligently hired, trained, retained, and/or
supervised all employees, agents, and apparent agents of Defendant, WALGREENS
including but not limited to Defendants, MICHELLE LEWIS and RIGOBERTO QUIZON.
WALGREENS, through its agents, apparent agents, and employees, including but not
limited to Defendants, MICHELLE LEWIS and RIGOBERTO QUIZON, negligently filled
and verified the Coumadin prescription on February 5, 2010, and provided Plaintiff,
MICHAEL RALPH, with a product which Defendant, WALGREENS represented as the
medicine prescribed by Jos Santz, M.D., for Plaintiff, MICHAEL RALPH. Defendant,
WALGREENS is independently liable for its own negligence and is vicariously liable for
the négligence of its employees, agents, and apparent agents, including but not limited
to Defendants, MICHELLE LEWIS and RIGOBERTO QUIZON.

20. Unbeknownst to Plaintiff, MICHAEL RALPH, the Defendants,
WALGREENS, MICHELLE LEWIS and RIGOBERTO QUIZON fitled the prescription
incorrectly. The defendants also failed to warn MICHAEL RALPH about the
prescription. The defendants failed to properly counsel him regarding potential adverse
reactions, interactions and the dosage regimen as required under Florida Statute

465.003. .

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21. Plaintiff, MICHAEL RALPH, took the medication as directed by the
Defendant, WALGREENS, from February 5, 2010 through February 22, 2010. Plaintiff
MICHAEL RALPH, was transported to Cape Canaveral Hospital on February 22, 2010
for emergency treatment, where it was discovered that he was urinating blood and had
severe back pain. The Coumadin overdose caused an epidural hematoma from C4-
T10. .

22. Defendant, WALGREENS, and its employees, agents and apparent
agents, had a duty to use proper care in filling and verifying the prescription to ensure
that the proper medication prescribed by Plaintiff, MICHAEL RALPH's treating physician
was in fact delivered to him. Furthermore, Plaintiff, MICHAEL RALPH, relied upon the
skill and judgment of the employees of WALGREENS to carefully and properiy fill the
prescription with the medication and dosage prescribed by his treating physician.

23. Defendant, WALGREENS, and its employees, agents and apparent
agents, negligently breached its duty of care to Plaintiff, MICHAEL RALPH, by
delivering to Plaintiff, MICHAEL RALPH, 5 mg tablets of Coumadin to be taken as
directed, witn taree (3) refills before February 5, 2011. WALGREENS, through their
employees, agents and apparent agents delivered dosages that were highly dangerous
to the health and safety of Plaintiff, MICHAEL RALPH.

24. ~=‘Plaintiff, MICHAEL RALPH, took the Coumadin as directed and started

experiencing bleeding so he went to the emergency room at Cape Canaveral Hospital

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on or about February 22, 2010. On admission, his INR level was very high as were his
hemoglobin and hematocrit levels.

25. While at CAPE CANAVERAL HOSPITAL, INC. on February 26, 2010,
RALPH P. PAGE, M.D., negligently ordered a pharmacy consult to adjust and monitor
anticoagulant dosing to Plaintiff, MICHAEL RALPH. RALPH P. PAGE, M.D. and CAPE
CANAVERAL HOSPITAL, INC. negligently administered Coumadin in the amount of 2
mg by mouth at CAPE CANAVERAL HOSPITAL, INC. on or about February 26, 2010
despite Plaintiff, MICHAEL RALPH’s medical status. Had Plaintiff, MICHAEL RALPH
been treated in a non-negligent fashion, he would not have sustained his permanent
injuries.

26. A pre-suit investigation was performed pursuant to Florida Statute
§766.203 and a Notice of Intent to Initiate Litigation against the Defendants, named
herein, was given in accordance with the requirements of Florida Statute §766.106. All
conditions precedent to Chapter 766 have been performed to bring this action.

COUNT | — CLAIM AGAINST DEFENDANT, WALGREEN CO,

27. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 9, 18 through 23, and 26, and further allege: .

28. As a direct and proximate result of the Defendant, WALGREENS’
negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries and sequelae from

the overdose.

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29. Plaintiff, MICHAEL RALPH's claim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the
capacity to enjoy life in the past and future, has past, present and future mental pain
and suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The
Plaintiffs have lost the support, services, and earning ability of a permanently and totally
disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

30. Plaintiff, PAULA RALPH's claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.

Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of

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hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

31. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’
negligence and because of the significant permanent Injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute
768.0415 for his loss of permanent services, comfort, companionship and society from
his father.”

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH, demand judgment against the
Defendant, WALGREEN, CO. for these damages and all other damages allowabie by
law, and demands costs, attorney's fees, interest, and a trial by jury.

COUNT II — NEGLIGENT HIRING, TRAINING, RETENTION, SUPERVISION AND/OR
ENTRUSTMENT AGAINST DEFENDANT. WALGREEN co.

 

32. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 9, 18 through 23, and 26 and further allege:

33. Defendant, WALGREENS, had a duty and responsibility to conduct
background investigations of its employees, including but not limited to Defendants,
MICHELLE LEWIS and RIGOBERTO QUIZON to determine their suitability as
pharmacists and/or pharmacy technicians. Defendant, WALGREENS failed to perform

such investigations or performed them negligently.

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34. An appropriate investigation by the Defendant, WALGREENS, would have
revealed the unsuitability of these employees and/or agents and/or apparent agents,
including but not limited to Defendants, MICHELLE LEWIS and RIGOBERTO QUIZON
for the duties to be performed and/or for employment in general.

35. It was unreasonable for the Defendant, WALGREENS, to hire these
employees and/or agents and/or apparent agents, including but not limited to
Defendants, MICHELLE LEWIS and RIGOBERTO QUIZON in light of the information
that Defendant, WALGREENS, knew or should have known.

36. Once the Defendant, WALGREENS, received actual or constructive notice
of problems with its employees, agents, and/or apparent agents, including but not
limited to Defendants, MICHELLE LEWIS and RIGOBERTO QUIZON, it was
unreasonable for the Defendant, WALGREENS, not to investigate or take corrective
action such as discharge or reassignment.

37, Defendant, WALGREENS, knew or should have’ known that its
employees, including but not limited to Defendants, MICHELLE LEWIS and
RIGOBERTO QUIZON, faiied to possess the required training, skill, and/or judgment to
properly and safely fill and verify prescriptions for people such as the Plaintiff,
MICHAEL RALPH.

38. Defendant, WALGREENS, did or failed to do one or more of the following
acts, any or all of which were departures from the acceptable professional standards of

care Brevard County, Florida, or any simitar medical community:

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a) Failure to supervise and/or train Defendants, MICHELLE LEWIS
and RIGOBERTO QUIZON to the extent necessary to fill and verify
prescriptions for customers such as Plaintiff, MICHAEL RALPH;

b) Failure to perform a background investigation of Defendants,
MICHELLE LEWIS and RIGOBERTO QUIZON prior to hiring
and/or retaining them; and

c) Negligently entrusting and/or retaining Defendants, MICHELLE
LEWIS and RIGOBERTO QUIZON which would foreseeably permit
them to fill and verify prescriptions to the Plaintiff, MICHAEL
RALPH.

39. As a direct and proximate result of the Defendant. WALGREENS’,
negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries and sequelae from
the overdose.

40. Plaintiff, MICHAEL RALPH's claim: As a result of the Defendants’
negligence, MICHAEL.RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff. MICHAEL RALPH, has incurred past medical expenses and care, lost the
capacity to enjoy life in the past and future, has past, present and future mental pain
and suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The

Plaintiffs have lost the support, services, and earning ability of a permanently and totally

disabled husband. PAULA RALPH incurred medical expenses for the care of her

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husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

41. Plaintiff, PAULA RALPH’s claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.
Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of
hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

42. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’
negligence and because of the significant permanent injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (diol April 1, 1987) asserts claims under Florida Statute
768.0415 for his loss of permanent services, comfort, companionship and society from
his father.

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually

and as husband and wife, and BRANDON RALPH, demand judgment against the

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Defendant, WALGREEN, CO.., for these damages and all other damages allowable by
law, and demands costs, attorney's fees, interest, and a trial by jury.
COUNT Ill - CLAIM AGAINST DEFENDANT, MICHELLE LEWIS

43. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 7, 9, 18 through 23, and 26 and further allege:

44. At all times material hereto, Defendant, MICHELLE LEWIS, was the
pharmacy technician who was responsible and had a duty to properly fill and verify the
Coumadin prescription. Defendant, MICHELLE LEWIS negligently filled and verified the
prescription. .

45. As a direct and proximate result of the Defendant, MICHELLE LEWIS’
negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries and sequelae from
the overdose.

46. Plaintiff, MICHAEL RALPH's claim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the .
capacity to enjoy life in the past and future, has past, present and future mental pain

and suffering, mental anguish, and has suffered bodily and permanent disability. He

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suffered an aggravation of pre-existing conditions and permanent disfigurement: The
Plaintiffs have lost the support, services, and earning ability of a permanently and totally
disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

47. Plaintiff, PAULA RALPH's claim:. As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, ‘comfort and
household services and said losses are permanent and coniinuing in nature.
Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of
hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

48. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’
negligence and because of the significant permanent injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (d/o/d April 1, 1987) asserts claims under Florida Statute
768.0415 for his loss of permanent services, comfort, companionship and society from

his father.

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WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH, demand judgment against the
Defendant, MICHELLE LEWIS, for these damages and all other damages allowable by
law, and demands costs, attorney's fees, interest, and a trial by jury.

COUNT IV— CLAIM AGAINST DEFENDANT, RIGOBERTO QUIZON

49. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 6, 8, 18 through 23, and 26, and further allege:

50. At all times material hereto, Defendant, RIGOBERTO QUIZON, was the
pharmacist who was responsible and had a duty to properly fill and verify the Coumadin
prescription. Defendant, RIGOBERTO QUIZON negligently filled and verified the
prescription.

51. Asa direct and proximate result of the Defendant, ROBERTO QUIZON's
negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries and sequelae from

j the overdose.

52, Plaintiff, MICHAEL RALPH’s claim: |} As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The

Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the

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capacity to enjoy life in the past and future, has past, present and future mental pain
and suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The
Plaintiffs have lost the support, services, and earning ability of a permanently and totally
disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

53. Plaintiff, PAULA RALPH's claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.
Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense’ of
hospitalization and medica! and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

54. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’
negligence and because of the significant permanent injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,

Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute

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768.0415 for his loss of permanent services, comfort, companionship and society from
his father.

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH, demand judgment against the
Defendant, RIGOBERTO QUIZON, for these damages and all other damages allowable

by law, and demands costs, attorney's fees, interest, and a trial by jury.

COUNT V — NEGLIGENCE CLAIM FOR AGENCY AGAINST
DEFENDANT, CAPE CANAVERAL HOSPITAL, INC.

55. . Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 4, 10 through 18, and 24 through 26 and further allege:

56. Defendant, CAPE CANAVERAL HOSPITAL, INC., controlled the actions
and/or had the right to control the actions of Defendant, RALPH P. PAGE, M.D., by
controlling his salary, work scope, work hours, and/or work conditions. The Medical
Staff Bylaws and/or Articles of Incorporation set forth the level of control that CAPE
CANAVERAL HOSPITAL. INC. had over RALPH P. PAGE, M.D.

57. Beginning on or about February 26, 2010, Defendant, CAPE
CANAVERAL HOSPITAL, INC. by and through its agents, servants and/or employees,
including but not limited to the Defendant, RALPH P. PAGE, M.D., owed a duty to

- Plaintiff, MICHAEL RALPH, to provide proper medical care and treatment in accordance
with the prevailing professional standards of care for physicians and/or similar health
care providers in light of all the relevant circumstances. Notwithstanding the duty

undertaken, Defendant, CAPE CANAVERAL HOSPITAL, INC.., did or failed to do one or

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more of the following acts, any or all of which were departures from the acceptable
professional standards of care in Brevard County, Florida, or any similar medical
community:

a) Failure to reverse Michael Ratph's INR in a timely fashion;

b) Failure to administer sufficient fresh frozen plasma and/or Vitamin
K to timely to reverse Michael Ralph's INR;

Cc) Failure to keep its hospital pharmacy from filling Coumadin 2mg for
Michael Ralph on or about February 26, 2010; and

d) Failed to provide that level of care, skill, and treatment which, in
light of all relevant surrounding circumstances, is recognized as
acceptable and appropriate by reasonably prudent similar
healthcare providers.

58. As a direct and proximate result of the Defendant, CAPE CANAVERAL
HOSPITAL, INC.’s negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries
and sequelae from the overdose.

59. ‘Plaintiff, MICHAEL RALPH'’s claim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the

capacity to enjoy life in the past and future, has past, present and future mental pain

and suffering, mental anguish, and has suffered bodily and permanent disability. He

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suffered an aggravation of pre-existing conditions and permanent disfigurement. The
Plaintiffs have fost the support, services, and earning ability of a permanently and totally
disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

60. Plaintiff, PAULA RALPH's claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
‘husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.
Additionally, Plaintiff, PAULA RALPH claims the reasonable vatue or expense of
hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

61. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’
negligence and because of the significant permanent injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute ©
768.0415 for his loss of permanent services, comfort, companionship and society from

his father.

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WHEREFORE, the Plaintiffs, M(CHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH. demand judgment against the
Defendant, CAPE CANAVERAL HOSPITAL, INC., for these damages and all other
damages allowable by law, and demands costs, attorney's fees, interest, and a trial by

jury.

COUNT VI ~ NEGLIGENCE CLAIM FOR APPARENT AGENCY AGAINST
DEFENDANT, CAPE CANAVERAL HOSPITAL, INC.

62. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 4, 10 through 18, and 24 through 26, and further allege:

63. Onor about February 26, 2010, Defendant, RALPH P. PAGE, M.D. was
an apparent agent of the Defendant, CAPE CANAVERAL HOSPITAL, INC. and was
acting within the course of scope of his apparent agency with the Defendant, CAPE
CANAVERAL HOSPITAL, INC, and in furtherance of the Defendant, CAPE
CANAVERAL HOSPITAL's business pursuits. Plaintiff MICHAEL RALPH reasonably
believed that RALPH P. PAGE was an agent, servant, and/or employee of CAPE
CANAVERAL HOSPITAL, and relied on the appearance and representation of such,
reputation of CAPE CANAVERAL HOSPITAL, and the fact that CAPE CANAVERAL
HOSPITAL provided RALPH P PAGE to be Plaintiff's doctor during the hospitalization.

64. Beginning on or about February 26, 2010, Defendant, CAPE
CANAVERAL HOSPITAL, INC. by and through its agents, servants and/or employees,
including but not limited to the Defendant, RALPH P. PAGE, M.D., owed a duty to

Plaintiff, MICHAEL RALPH, to provide proper medical care and treatment in accordance

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with the prevailing professional standards of care for physicians and/or similar health
care providers in light of all the relevant circumstances. Notwithstanding the duty
undertaken, Defendant, CAPE CANAVERAL HOSPITAL, INC., did or failed to do one or
more of the following acts, any or all of which were departures from the acceptable
professional standards of care in Brevard County, Florida, or any similar medical '
community:
a) Failure to reverse Michael Ralph's INR in a timely fashion;

b) Failure to administer sufficient fresh frozen plasma and/or Vitamin
K to timely to reverse Michael Ralph's INR;

Cc) Failure to keep its hospital pharmacy from filling Coumadin 2mg for
Michael Ralph on or about February 26, 2010; and

dy Failed to provide that level of care, skill, and treatment which, in
light of all relevant surrounding circumstances, is recognized as
acceptable. and appropriate by reasonably prudent similar
healthcare providers. :

65. As a direct and proximate result of the Defendant, CAPE CANAVERAL
HOSPITAL, INC.'s negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries
and sequelae from the overdose.

66. Plaintiff, MICHAEL RALPH’s claim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and

is physically and mentally impaired. The Plaintiffs claim the reasonable value of

expense of hospitalization, and medical and nursing care, and treatment necessarily or

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reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the
capacity to enjoy life in the past and future, has past, present and future mental pain
and suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The
Plaintiffs have lost the support, services, and earning ability of a permanently and totally
disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

67. Plaintiff, PAULA RALPH’s claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.
Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of
hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

68. Plaintiff, BRANOON RALPH’s claim: As a result of the Oefendants’

negligence and because of the significant permanent injuries to Plaintiff, MICHAEL

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RALPH, which resulted in his permanent total disability, his unmarried dependent son,

Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute

768.0415 for his loss of permanent services, comfort, companionship and society from

?

his father.

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH, demand judgment against the
Defendant, CAPE CANAVERAL HOSPITAL, INC., for these damages and all other
damages allowable by law, and demands costs, attorney's fees, interest, and a trial by

jury.

COUNT VII — NEGLIGENT HIRING, CREDENTIALING, SUPERVISION, TRAINING,
RETENTION, AND/OR ENTRUSTMENT AND FLORIDA STATUTE §766.110
AGAINST DEFENDANT, CAPE CANAVERAL HOSPITAL, INC.

69. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 4, 10 through 18, and 24 through 26 and further allege:

70. Defendant, CAPE CANAVERAL HOSPITAL, INC. owed a duty to Plaintiff,
MICHAEL RALPH, to assure that the issuance of medical staff privileges to Defendant,
RALPH P. PAGE, M.D., was such that Defendant, RALPH P. PAGE, M.D., was —
competent to perform the services to the patients, such as Plaintiff, MICHAEL RALPH,
while providing medical care and treatment to the patients at CAPE CANAVERAL
HOSPITAL, INC.

71. Defendant, CAPE CANAVERAL HOSPITAL, INC. failed to select and

retain competent medical staff members by granting unlimited staff privileges to

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Defendant, RALPH P. PAGE, M.D., when it knew or should have known that Defendant,
RALPH P. PAGE, M.D. was not a competent physician capable of providing medical
care and treatment to patients such as Plaintiff, MICHAEL RALPH.

72. Defendant, CAPE CANAVERAL HOSPITAL, INC. failed to select and
retain competent medical staff members by granting unlimited staff privileges to
Defendant, RALPH P. PAGE, M.D. as an internal medicine physician without requiring
proctoring, monitoring, or supervision of a properly credentialed physician in the
treatment of internal medicine patients such as Plaintiff, MICHAEL RALPH.

73. Defendant, CAPE CANAVERAL HOSPITAL, INC. failed to select and
retain competent medical staff members by granting unlimited staff privileges to
Defendant, RALPH P. PAGE, M.D. as an internal medicine physician by granting
renewed privileges to Defendant, RALPH P. PAGE, M.D. as an internal medicine
physician without the results of the required initial monitoring and the information
concerning his professional performance, judgment, and clinical or technical skills that
are derived from this process.

74. Defendant, CAPE CANAVERAL HOSPITAL, INC., had a duty to assure
comprehensive risk management and the competence of Defendant, RALPH P. PAGE,
M.0., through careful selection and review, under Florida Statute §766.110(1).
Defendant, CAPE CANAVERAL HOSPITAL, INC. had a duty to:

a) Adopt written procedures for the selection of staff members and

periodically review the medical care and treatment rendered to
patients like Plaintiff, MICHAEL RALPH;

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b) Adopt a comprehensive risk management Program which fully
complied with §395.0197; and

c) initiate and diligently administrate a medical review and risk
management process including supervising the Defendant, RALPH
P. PAGE, M.D., to the extent necessary to ensure that such
medical review and risk management process were being diligently
carried out.

75. Defendant, CAPE CANAVERAL HOSPITAL, INC. had a duty and

’ responsibility to conduct background investigations of Defendant, RALPH P. PAGE,
M.D., to determine his suitability for treating patients like Plaintiff, MICHAEL RALPH.
Defendant, CAPE CANAVERAL HOSPITAL, INC. failed to perform such investigations
or performed them negligently.

76. An appropriate investigation by Defendant, CAPE CANAVERAL
HOSPITAL, INC. would have revealed the unsuitability of Defendant, RALPH P. PAGE,
M.D.

77. It was unreasonable for Defendant, CAPE CANAVERAL HOSPITAL, INC.
to hire Defendant, RALPH P. PAGE, M_.D., in light of the information that Defendant,
CAPE CANAVERAL HOSPITAL, INC. knew or should have known.

78. Once Defendant, CAPE CANAVERAL HOSPITAL, INC. received actual or
constructive notice of problems with Defendant, RALPH P. PAGE, M.D., it was
unreasonable for Defendant, CAPE CANAVERAL HOSPITAL, INC. not to investigate or

take corrective action such as discharge or reassignment.

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79. Defendant, CAPE CANAVERAL HOSPITAL, INC. had a duty to supervise
the work of Defendant, RALPH P. PAGE, M.D., and ensure that medical review and risk
management process were being diligently carried out.

80. Defendant, CAPE CANAVERAL HOSPITAL, INC. knew or should have
known that Defendant, RALPH P. PAGE, M_D., failed to possess the required training,
skill, and/or judgment to properly and safely treat patients such as Plaintiff, MICHAEL
RALPH.

81. Defendant, CAPE CANAVERAL HOSPITAL, INC. did or failed to do one
or more of the following acts, any or all of which were departures from the acceptable
professional standards of care in Brevard County, Florida, or any similar medical
community:

a) Failing to assure that Defendant, RALPH P. PAGE, M.D., was
competent In caring for Plaintiff, MICHAEL RALPH, or any other

similar surgical patients;

b) Failing to supervise and/or train Defendant, RALPH P. PAGE, M.D..,
to the extent necessary to care for Plaintiff, MICHAEL RALPH;

c) Failing to perform a background investigation of Defendant, RALPH
P. PAGE, M.D., prior to hiring and/or retaining him; and

d) Negligently entrusting and/or retaining Defendant, RALPH P.
PAGE, M.D., which would foreseeably permit him to treat patients
like Plaintiff, MICHAEL RALPH.
82. Asa direct and proximate result of the Defendant, CAPE CANAVERAL
HOSPITAL, INC.'s negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries

and sequelae from the overdose.

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83. Plaintiff, MICHAEL RALPH's claim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the
capacity to enjoy life in the past and future, has past, present and future mental pain
and suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The
Plaintiffs have lost the support, services, and earning ability of a permanently and totally
disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH '
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

84. Plaintiff, PAULA RALPH’s claim: As a result of the Oefendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her

husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.

Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of

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hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

85. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’
negligence and because of the significant permanent injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute
768.0415 for his loss of permanent services, comfort, companionship and society from
his father. '

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH, demand judgment against the
Defendant, CAPE CANAVERAL HOSPITAL, INC., for these damages and all other .
damages allowable by law, and demands costs, attorney's fees, interest, and a trial by
jury.

COUNT Vill - NEGLIGENCE OF DEFENDANT, CAPE CANAVERAL HOSPITAL, INC.
FOR NON-DELEGABLE DUTY

86. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 4, 10 through 18, and 24 through 26, and further allege:

87. Atal times material hereto, Defendant, CAPE CANAVERAL HOSPITAL,
INC., had a non-delegable duty to the Plaintiff, MICHAEL RALPH, to provide non-
negligent medica! services to him pursuant to its contract, Florida Statutes, Florida

Regulations, and Federal Regulations.

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88. At all times material hereto, Defendant, CAPE CANAVERAL HOSPITAL,
INC., undertook a duty to treat the Plaintiff, MICHAEL RALPH, for a charge. and
furnished these aforementioned services to render that treatment. Defendant, CAPE
CANAVERAL HOSPITAL, INC. approved the personnel who would be providing the
services to the Plaintiff, MICHAEL RALPH, and employed, granted staff privileges to,
and/or paid the Defendant, RALPH P. PAGE, M.D., to perform said services. The
statutory, regulatory, contractual and common law duties assumed by and/or imposed
upon the Defendant, RALPH P. PAGE, M.D., included providing pre-surgical services
which are non-delegable and, as a matter of law, impose direct liability, upon the
Defendant, CAPE CANAVERAL HOSPITAL, INC., for the negligent performance of
such duties.
89. As a Medicare provider, i.e., a hospital accepting Medicare from the
' Federal government, Defendant, CAPE CANAVERAL HOSPITAL, INC., was subject to
the rules and regulations promulgated under 42 CFR 482, which govern the conditions
of participation for hospitals and impose a non-delegable duty on those participating
hospitals.
90. Specifically, pursuant to 42 CFR 482.12(e), Defendant, CAPE
CANAVERAL HOSPITAL, INC., is responsible for the safe and effective delivery of

services furnished in the hospital, even if furnished under contracts with those labeled

independent contractors.

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91. Pursuant to 42 CFS 482.22, CAPE CANAVERAL HOSPITAL must have
an organized medical staff that operates under bylaws approved by the governing body
and is responsible for the quality of medical care provided to patients by the hospital.
Furthermore, the medical staff must be well organized and accountable to the governing
body for the quality of medical care provided to patients. See 42 CFS 482.22(b).

92. The non-delegable duty imposed by 42 CFR 482 applies to services and
encompasses the acts or omissions of the Defendants, CAPE CANAVERAL
HOSPITAL, INC., and RALPH P. PAGE, M.D., and other hospital personnel,
Defendant, CAPE CANAVERAL HOSPITAL, INC. breached its statutory non-delegable
duty to the Plaintiff, MICHAEL RALPH.

93. Florida hospital licensing and regulation statutes and rules (§§ 395.001,
395.1055, Fla. Stat.; FAC 59A-3.2085(3)) imposed a non-delegable duty upon
Defendant, CAPE CANAVERAL HOSPITAL, INC. to provide these medical services to
the Plaintiff, MICHAEL RALPH. —

94. The contract between the Plaintiff, MICHAEL RALPH, and the Defendant,
CAPE CANAVERAL HOSPITAL, INC. imposed a non-delegable duty on Defendant,
CAPE CANAVERAL HOSPITAL, INC. to provide these services to the Plaintiff,
MICHAEL RALPH.

95. As a direct and proximate result of the negligence and failure to timely

treat Plaintiff, MICHAEL RALPH, Defendant, CAPE CANAVERAL HOSPITAL, INC., by

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and through its agents, apparent agents, servants, and employees, the Plaintiff,
MICHAEL RALPH suffered permanent injuries and sequelae from the overdose.

96. As a direct and proximate result of the Defendant, CAPE CANAVERAL
HOSPITAL, INC.’s negligence and failure to timely treat and evaluate the Plaintiff,
MICHAEL RALPH, and had they not performed the negligent acts described above, the
Piaintiff, MICHAEL RALPH, would not have suffered permanent injuries and sequelae
from the overdose.

97. Asa direct and proximate result of the Defendant, CAPE CANAVERAL
HOSPITAL, INC.'s negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries
and sequelae from the overdose.

98. Plaintiff, MICHAEL RALPH’s claim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the
capacity to enjoy life in the past and future, has past, present and future mental pain
and suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The

Plaintiffs have lost the support, services, and earning ability of a permanently and totally

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disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

99. Plaintiff, PAULA RALPH’s claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.
Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of
hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the '
past or to be so obtained in the future.

100. Plaintiff, BRANDON RALPH's claim: As a result of, the Defendants’
negligence and because of the significant permanent injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute
768.0415 for his loss of permanent services, comfort, companionship and society from
his father.

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually

and as husband and wife, and BRANDON RALPH, demand judgment against the

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Defendant, CAPE CANAVERAL HOSPITAL, INC., for these damages and all other
damages allowable by law, and demands costs, attorney's fees, interest, and a trial by
jury.

COUNT IX — VICARIOUS LIABILITY AGAINST DEFENDANT,
CAPE CANAVERALHOSPITAL, INC.

101. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 4, 10 through 18, and 24 through 26, and further allege:

102. Defendant, CAPE CANAVERAL HOSPITAL, INC. is vicariously liable for
the negligence of its agents, apparent agents, servants and employees including but not
jimited to its nurses, and the Defendant, RALPH P. PAGE, M.D., in that:

a) CAPE CANAVERAL HOSPITAL, INC., and its employees, agents
and apparent agents including but not timited io: RALPH P. PAGE,
M.D., fell below the standard of care in Failure to reverse Michael

Ralph's INR in a timely fashion;

- b) Failure to administer sufficient fresh frozen plasma and/or Vitamin
K to timely to reverse Michael Ralph’s INR;

c) Failure to keep its hospital pharmacy from filling Coumadin 2mg for
Michael Ralph on or about February 26, 2010; and

d) Failed to provide that level of care, skill, and treatment which, in
light of all relevant surrounding circumstances, is recognized as
acceptable and appropriate by reasonably prudent similar
healthcare providers.

103. As a direct and proximate result of the Defendant, CAPE CANAVERAL
HOSPITAL, INC.’s negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries

and sequelae from the overdose.

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104. Plaintiff, MICHAEL RALPH's claim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the
capacity to enjoy life in the past and future, has past, present and future mental pain
and suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The
Plaintiffs have lost the support, services, and earning ability of a permanently and totally
disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant ‘care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

105. Plaintiff, PAULA RALPH's claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.

Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of

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hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

106. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’
negligence and because of the significant permanent injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute
768.0415 for his loss of permanent services, comfort, companionship and society from
his father.

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife. and BRANDON RALPH, demand judgment against the
Defendant, CAPE CANAVERAL HOSPITAL, INC., for these damages and all other
damages allowable by law, and demands costs, attorney's fees, interest, and a trial by
jury.

COUNT X ~- NEGLIGENCE CLAIM AGAINST DEFENDANT, RALPH P. PAGE, M.D.

107. Piaintifis reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 4, 12 through 17, and 24 through 26 , and further allege:

108. Beginning on or about February 26, 2010, RALPH P. PAGE, M.D., had a
duty to administer care in accordance with the prevailing professional standard of care
for internal medicine physicians in Brevard County, or any other similar medical

community. Notwithstanding the duties undertaken, RALPH P. PAGE, M.D., did or

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failed to do one or more of the following acts, any of which were departures from the
accepted standards of care in Brevard County, Florida, or any other similar medical
community:
a) RALPH P. PAGE, M.D. fell below the standard of care in
negligently ordering on February 22, 2010 at Cape Canaveral
Hospital a pharmacy consult to adjust and monitor anticoagulant
dosing to Michael Ralph;
b) RALPH P. PAGE. M.D. negligently ordering Coumadin in the
amount of 2 mg by mouth at Cape Canaveral Hospital on February
26, 2010 despite Michael Ralph's medical status;

c) Failure to reverse Michael Ralph's INR in a timely fashion on
admission;

d) Failure to administer sufficient fresh frozen plasma and/or Vitamin
K to timely to reverse Michael Ralph's INR on admission; and

e) Failure to provide that level of care, skill, and treatment which, in
light of all relevant surrounding circumstances, is recognized as
acceptable and appropriate by reasonably prudent similar
healthcare providers.

109. As a direct and proximate result of the Defendant, RALPH P. PAGE,
M.D.’s negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries and
sequelae from the overdose.

110. Plaintiff, MICHAEL RALPH's claim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physical pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and

is physically and mentally impaired. The Plaintiffs claim the reasonable vaiue of

expense of hospitalization, and medical and nursing care, and treatment necessarily or

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reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the
capacity to enjoy life in the past and future, has past, present and future mental pain
and suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The
Plaintiffs have lost the support, services, and earning ability of a permanently and totally
disabled husband. PAULA RALPH incurred medical expenses for the care of her
husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH
which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

111. Ptaintiff, PAULA RALPH's claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the toss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.
Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of
hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

112. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’

negligence and because of the significant permanent injuries to Plaintiff, MICHAEL

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RALPH, which resulted in his permanent totai disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute
768.0415 for his loss of permanent services, comfort, companionship and society from
his father.

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH, demand judgment against the
Defendant, RALPH P.PAGE, M.D., for these damages and all other damages allowable

by law, and demands costs, attorney's fees, interest, and a trial by jury.

COUNT XI — VICARIOUS LIABILITY CLAIM AGAINST

DEFENDANT. RALPH P. PAGE, M.D.., P.A.

113. Plaintiffs reallege and incorporate by reference the allegations contained
in Paragraphs 1 through 4, 12 through 17, and 24 through 26, and further allege:

114. Defendant, RALPH P. PAGE, M.D., P.A. is vicariously liable for the
negligence of its agents, apparent agents, and employees including but not limited to
the Defendant, RALPH P. PAGE, M.D., in that:

a) RALPH P. PAGE, M.D. fell below the standard of care in
negligently ordering on February 22, 2010 at Cape Canaveral
Hospital a pharmacy consult to adjust and monitor anticoagulant
dosing to Michael Ralph;

b) RALPH P. PAGE, M.D. negligently ordering Coumadin in the
amount of 2 mg by mouth at Cape Canaveral Hospital on February
26, 2010 despite Michael Ralph’s medical status;

c) Failure to reverse Michael Ralph's INR in a timely fashion on
admission;

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d) Failure to administer sufficient fresh frozen plasma and/or Vitamin
K to timely to reverse Michael Ralph’s INR on admission; and

e) Failure to provide that level of care, skill, and treatment which, in
light of all relevant surrounding circumstances, is recognized as
acceptable and. appropriate by reasonably prudent . similar
heaithcare providers. .

115. Asa direct and proximate result of the Defendant, RALPH P.-PAGE, M.D.,
P.A.'s negligence, Plaintiff, MICHAEL RALPH, suffered permanent injuries and
sequelae from the overdose.

116. Plaintiff, MICHAEL RALPH's ciaim: As a result of the Defendants’
negligence, MICHAEL RALPH, suffered permanent bodily injury, disability, physica! pain
and suffering, mental pain and suffering, impairment, disfigurement, inconvenience, and
is physically and mentally impaired. The Plaintiffs claim the reasonable value of
expense of hospitalization, and medical and nursing care, and treatment necessarily or
reasonably obtained by them for Plaintiff, MICHAEL RALPH in the past and future. The
Plaintiff, MICHAEL RALPH, has incurred past medical expenses and care, lost the
capacity to enjoy life in the past and future, has past, present and future mental pain
ano suffering, mental anguish, and has suffered bodily and permanent disability. He
suffered an aggravation of pre-existing conditions and permanent disfigurement. The
Plaintiffs have lost the support, services, and earning ability of a permanently and totally

disabled husband. PAULA RALPH incurred medical expenses for the care of her

husband, and gratuitously provided nursing and attendant care for MICHAEL RALPH

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which was necessitated by his injuries. All of these losses are permanent and
continuing in nature.

417. Plaintiff, PAULA RALPH's claim: As a result of the Defendants’
negligence, Plaintiff, PAULA RALPH has been deprived of the consortium of her
husband, Plaintiff, MICHAEL RALPH, including but not limited to, the loss of fellowship,
companionship, society, attentions, services, affection, guidance, comfort and
household services and said losses are permanent and continuing in nature.
Additionally, Plaintiff, PAULA RALPH claims the reasonable value or expense of
hospitalization and medical and nursing care and treatment necessarily or reasonably
obtained by Plaintiff, PAULA RALPH for her husband, Plaintiff, MICHAEL RALPH, in the
past or to be so obtained in the future.

118. Plaintiff, BRANDON RALPH's claim: As a result of the Defendants’
negligence and because of the significant permanent injuries to Plaintiff, MICHAEL
RALPH, which resulted in his permanent total disability, his unmarried dependent son,
Plaintiff, BRANDON RALPH (d/o/b April 1, 1987) asserts claims under Florida Statute
768.0415 for his foss of permanent services, comfort, companionship and society from
his father.

WHEREFORE, the Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually
and as husband and wife, and BRANDON RALPH, demand judgment against the
Defendant, RALPH P.PAGE, M.D., P.A., for these damages and all other damages

allowable by law, and demands costs, attorney’s fees, interest, and a trial by jury.

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COMPLIANCE WITH FLORIDA STATUTE §766.106

As reflected in Paragraph 26, a pre-suit investigation was performed pursuant to
Florida Statute §766.203 and a Notice of Intent to Initiate Litigation against the
Defendants, in accordance with the requirements of Florida Statute §766.106. All
conditions precedent under Chapter 766 have been performed to bring this action.

DEMAND FOR JURY TRIAL .

The Plaintiffs, MICHAEL RALPH and PAULA RALPH, Individually and as

husband and wife, and BRANDON RALPH, hereby demand a trial by jury of all issues

to triable.

DATED this 9" day of March, 2012.
Cao
[ pe-~ [fez

Christian D. Searcy

Florida Bar No.: 159298
Karen E. Terry /

Fiorida Bar No.: 45780

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